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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                            Criminal No.: 21-MJ-386 (JTH)


UNITED STATES OF AMERICA,

                     Plaintiff,
                                                ORDER GRANTING JOINT MOTION
                                                FOR EXTENSION OF TIME FOR
              v.
                                                FILING INDICTMENT
MARK ANTHONY SCERBO,

                     Defendant.

       This matter is before the Court on the parties’ joint motion, pursuant to 18 U.S.C.

§ 3161(h)(7), for an extension of time to file an indictment in the above-captioned matter

until July 15, 2021. According to the joint motion, an indictment in this matter must be

filed by June 19, 2021 without an extension.

       After consideration of the joint motion, the reasons stated therein, and the record

before it, including the agreement by the parties and the defendant’s consent, the Court

makes the following findings:

       1.     The parties’ interest in reaching a pre-indictment resolution of this case could

lead to significant benefits for both parties and the victims in the matter, and the parties

have not had an adequate opportunity to explore such a resolution;

       2.     Without the requested extension, the parties will not have the opportunity to

resolve this matter prior to indictment; and

       3.     The ends of justice served by granting the parties’ joint motion outweigh the

interests of the public and the defendant in a speedy trial.
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       Based on the foregoing, IT IS HEREBY ORDERED that:

       1.     The joint motion for an extension of time to file an indictment in the above-

captioned matter until July 15, 2021 is GRANTED;

       2.     Any indictment in this matter shall be filed on or before that date; and

       3.     The time period from the date of the parties’ joint motion to July 15, 2021,

is excluded under 18 U.S.C. § 3161(h)(7)(B)(iv), namely that the failure to grant such a

continuance in this case would unreasonably deny counsel for the defendant and the

attorney for the government the reasonable time necessary for effective preparation and

negotiation of the matter.


 Date: June 7, 2021                 s/Katherine M. Menendez
                                    THE HONORABLE KATHERINE M. MENENDEZ
                                    U.S. MAGISTRATE JUDGE




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